     Case 1:06-cr-00226-PB   Document 60   Filed 09/25/07   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                       Case No. 06-cr-226-PB

Robert Hatch, et al.



                               O R D E R

     The defendant, through counsel, has moved to continue the

October 10, 2007 trial in the above case, citing the need for

additional time to complete discovery and respond to the

forthcoming superseding indictment.        The government and co-

defendants do not object to a continuance of the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from October 10, 2007 to January 8, 2008.              In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy trial
      Case 1:06-cr-00226-PB   Document 60   Filed 09/25/07   Page 2 of 2




      The September 24, 2007 final pretrial conference is

continued to December 19, 2008 at 3:30 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge
September 25, 2007

cc:   David Bownes, Esq.
      Dana Cole, Esq.
      Michael Iacopino, Esq.
      Mark Irish, AUSA
      Richard Johnston, Esq.
      Bjorn Lange, Esq.
      United States Probation
      United States Marshal




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